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Prob I2A (10/16)                                                                          ?                      L   1
VAE(5/I7)
                                   UNITED STATES DISTRICT COURT                                         JUN 1 9 2018
                                                   for the
                                   EASTERN DISTRICT OF VIRGINIA                                CLERK. U.S. DISTRICT COURT
                                                                                                    ALEXANDRIA. VIRGINIA

U.S.A. vs. Chad Jordan                                        Docket No. l:17-MJ-463

                                             Petition on Probation

        COMES NOW STANLEY E. LEIGH. PROBATION OFFICER OF THE COURT, presenting an
official report upon the conduct and attitude of Chad Jordan , who was placed on supervision by the Honorable
Ivan D. Davis, United Stales Magistrate Judge sitting in the Court at Alexandria. Virginia, on the 31st day of
October. 2017. who fixed the period of supervision at 1 year, and imposed the general terms and conditions
heretofore adopted by the Court and also imposed special conditions and terms as follows:

                                                SEE PAGE 2


RESPECTFULLY PRESENTING                 PETITION      FOR      ACTION      OF COURT FOR CAUSE                            AS
FOLLOWS:
                                                SeeAt(achnient(s)

PRAYING THAT THE COURT WILL ORDER a warrant to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.

Bond Recommendation: NO BOND



ORDER OF COURT                                              I declare under the penalty of perjury that the
                                                           foregoing is true and correct.
Considered and ordered this 1?^ day of^
2018 and ordered filed and made a part of the               Executed on:
records in the above case.                                                    Digitally Signed by Joanne t.
                                                                              Marden
                                                                              Dale. 2018.06.1B 09:41:15 -04 00

                                                           for Stanley E. Leigh
                                                            U.S. Probation Officer
                                                           703-299-2359
                             /s/
                    Ivan D. Davis                          Place Alexandria. Vireinia
            United States Magistrate Judge




TO CLERK'S OFFICE
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Petition on Probation
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RE: Jordan ,Chad

OFFENSE: Possession of Marijuana, in violation of Title 21, U.S.C. § 844.

SENTENCE: On October 31,2017,the defendant appeared before Your Honor for sentencing and was placed
on a 1 year term of supervised probation pursuant to Title 18, U.S.C. § 3607. The following special conditions
were imposed: 1) The defendant must participate in a drug education or treatment program, or both, if ordered
to do so by the supervising probation officer; 2) The defendant must undergo drug testing, including but not
limited to urinalysis, if ordered to do so by the supervising probation officer; and 3) The defendant must
return to court if notified to do so.

On November 22, 2017, a Report of Initial Positive was approved by Your Honor after the defendant signed
an admission form conceding to marijuana use on September 28,2017.

On November 29, 2017, Mr. Jordan was charged in Fairfax County, Virginia, with Speeding 81/55, Expired
Registration, and Failure to Update License. On January 29, 2018, he appeared in the General District Court
and was convicted on the Speeding charge and assessed a fine and court costs. The remaining traffic offenses
were dismissed.

On February 21, 2018, a No Action recommendation was approved following the defendant's new traffic
charges and a positive urine screen on January 29, 2018, for the use of marijuana. Mr. Jordan signed an
admission form conceding to marijuana use on January 13, 2018.

ADJUSTMENT TO SUPERVISION: Mr. Jordan resides with roommates in Arlington, Virginia, and he is
employed as a disc jockey. On December 20, 2017, substance abuse treatment was not recommended by the
National Counseling Group. A recent records check did not reveal any new arrests or outstanding warrants,
and his Virginia driver's license is revoked.

VIOLATIONS: The following violations are submitted for the Court's consideration.

CONDITION 2:                            FAILURE    TO    SUBMIT       TRUTHFUL         AND     COMPLETE
                                        MONTHLY SUPERVISION REPORTS TO THE PROBATION
                                        OFFICER.

Mr. Jordan submitted incomplete supervision reports for the months of February 2018, March 2018, and April
2018. On May 14, 2018, this officer mailed the incomplete reports to the address on record with a note for the
defendant to complete the forms properly, and return them to the probation office by May 25,2018. As of this
writing, the defendant has not returned any ofthe requested reports.

                                        FAILURE TO SUBMIT MONTHLY SUPERVISION REPORTS
                                        AS DIRECTED.

The defendant has failed to submit supervision reports for the month(s)of December 2017 and May 2018.




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RE: Jordan,Chad

CONDITION 7:                         USE OF MARIJUANA.

On May 24, 2018, Mr. Jordan submitted a specimen which tested positive for marijuana. He admitted to
smoking marijuana around the beginning of May 2018. The defendant's prior drug test submitted on April 18,
2018, was negative.

SPECIAL CONDITION:                   FAILURE TO REPORT AS DIRECTED BY THE PROBATION
                                     OFFICER.


On May 16, 2018, Mr. Jordan failed to report to the probation office for drug testing. On May 18, 2018, he
acknowledged he received notice to report on May 16, 2018, but he forgot to do so. He failed to report as
instructed on May 18,2018, to make up the missed drug screen.

The defendant failed to report for scheduled drug testing on June 4, 2018, after being placed on code a phone
effective May 24,2018.

On June 5, 2018, this officer left a voice message on the primary phone for the defendant to report for drug
testing on the same date or the following day by noon. He failed to report on June 5, 2018, or June 6, 2018.

On June 13, 2018, Mr. Jordan failed to report to the probation office as directed after given instructions via
telephone contact on June 12,2018.

On June 14, 2018, Mr. Jordan failed to report as directed after this officer left written instructions at his
approved residence for him to report the same day by 2:00 p.m.

The defendant's current whereabouts are unknown by the probation officer.

SEL/smk




                                                                                                   Prob 12A (10/16)
                                                                                                        VAE(5/I7)
